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     Attorneys for Defendant
 5   ALFRED DARNELL FORD
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 7
                             UNITED STATES DISTRICT COURT
 8
                            EASTERN DISTRICT OF CALIFORNIA
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10
      UNITED STATES OF AMERICA,                                 Case No.: 01: 09-cr-00217 OWW
11
                                        Plaintiff,              STIPULATION AND ORDER
12                                                              REGARDING EXTENSION OF
             v.                                                 THE 1-YEAR PERIOD OF
13                                                              LIMITATION UNDER 28 U.S.C.
                                                                § 2255
14
      ALFRED DARNELL FORD
15
                                      Defendant.
16
17         IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, Assistant United States Attorney Stanley A. Boone for Plaintiff, and
19   Tony F. Farmani, Esq. for Defendant Alfred Darnell Ford, that the 1-year period of
20   limitation under 28 U.S.C. § 2255 shall be extended through and including June 30, 2011.
21
22                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
23
24   Dated: June 1, 2011               By                  /s/ Stanely A. Boone
                                                           STANLEY A. BOONE
25                                                         Assistant United States Attorney
26
     Dated: June 1, 2011                       By          /s/ Tony F. Farmani
27                                                         TONY F. FARMANI
                                                           Attorney for Alfred Darnell Ford
28                                                   -1-
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 1                                            ORDER
 2         Based on the parties’ stipulation, the 1-year period of limitation under 28 U.S.C. §
 3   2255 shall be extended through and including June 30, 2011.
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 5
                                        IT IS SO ORDERED.
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                   Dated:    June 3, 2011     /s/ Oliver W. Wanger
 7                          emm0d6UNITED STATES DISTRICT JUDGE
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